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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

 THE UNITED STATES OF AMERICA

                  v.                                               No. 1:21-cr-41-JL-01

 ARIA DIMEZZO

                          MOTION IN LIMINE:
          DAUBERT CHALLENGE TO FORENSIC BLOCKCHAIN ANALYSIS

          The accused, Aria DiMezzo, through counsel, respectfully requests that the court

bar the Government from offering at trial expert and non-expert testimony regarding

forensic blockchain analysis. The government cannot establish the admissibility of such

evidence under Rules of Evidence 403 or 702, or under Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579, 113 S. Ct. 2786 (1993). The defense has not found any published case

holding that forensic blockchain analysis is reliable under the Daubert standard, and there

is good reason to believe that it is not. The court should bar the use of such evidence at

trial.


The Charges and the Government’s Proposed Testimony.

          Ms. DiMezzo is charged in nine counts of a 33-count superseding indictment. The

Government claims that DiMezzo and co-defendant Ian Freeman operated a business

which exchanged virtual currency, such as Bitcoin, for U.S. Dollars. The Government

claims that DiMezzo and Freeman unlawfully failed to register the business. The

Government further claims that DiMezzo and Freeman committed crimes of fraud, or

enabled others to commit crimes of fraud, through their activities. On the basis of those

allegations, Ms. DiMezzo faces four counts of wire fraud and three counts of money

laundering.

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       The Government has provided discovery which includes financial transactions

which it says relate to the alleged illegal conduct. The financial transactions allegedly

include transactions involving virtual currency, such as Bitcoin. Those transactions

depend on the blockchain.

       As described by a Government agent in this case:

       All Bitcoin transactions are recorded on a public ledger known as the
       “Blockchain,” stored on the peer-to-peer network on which the Bitcoin system
       operates. The Blockchain serves to prevent a user from spending the same
       Bitcoins more than once. However, the Blockchain only reflects the movement of
       funds between anonymous Bitcoin addresses and therefore, cannot by itself be
       used to determine the identities of the persons involved in the transactions. Only if
       one knows the identities associated with each Bitcoin address involved in a set of
       transactions is it possible to meaningfully trace funds through the system.

       Even though the public addresses of those engaging in Bitcoin transactions are
       recorded on the public ledger, the true identities of the individuals or entities
       behind the public addresses are not recorded. If, however, a real individual or
       entity is linked to a public address, it would be possible to determine what
       transactions were conducted by that individual or entity. Bitcoin transactions are,
       therefore, described as “pseudonymous,” meaning they are partially anonymous.

Aff. of Special Agent Kathryn Thibault, Aff. in Supp. of Search Warrants for Elec.

Devices Located at 659 Marlboro Street, Keene, New Hampshire, ¶¶ 16, 17.

       The Government has given notice that it is going to offer blockchain analysis

evidence through both expert and non-expert witnesses. See Letter from Counsel for the

Government to Defense Counsel, March 21, 2022. The Government proposes Erin

Montgomery “as an expert witness on virtual currency and blockchain analysis.” She “is

expected to provide testimony explaining cryptocurrencies like Bitcoin, including how

Bitcoin transactions are conducted, and how transactions can be traced on the

blockchain.” Her “testimony will include a discussion of the properties of cryptocurrency

including those making it pseudonymous.” The Government specifically says she is



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“expected to testify regarding clustering, a blockchain analysis technique that identifies

linked addresses held by an individual or organization.” Regarding the investigation in

this case, the Government states that Montgomery “performed blockchain analysis in

support of this investigation,” that she “reviewed the blockchain—a public ledger of

bitcoin transactions,” and that she “followed those funds to addresses that were under the

defendants’ control.”

       In addition to the expert testimony from Montgomery, the Government says it

will call non-expert witnesses who “will also provide testimony regarding virtual

currency, exchanges, and blockchain analysis.” The Government claims these are “fact

witnesses” who will testify to “their personal knowledge and conduct of the investigation,

not as expert testimony as defined in Fed. R. Evid. 702.”


Forensic Blockchain Analysis.

       The Bitcoin blockchain, the ledger of every transaction that ever occurred in the

history of Bitcoin, is publicly available. It is currently over 400 GB in size. “Blockchain

Size,” Blockchain.com, July 27, 2022, https://www.blockchain.com/charts/blocks-size.

There have been more than 750 million transactions since its inception. “Total Number of

Transactions,” Blockchain.com, July 27, 2022, https://www.blockchain.com/charts/n-

transactions-total. In theory, “anyone can see any Bitcoin transaction,” however,

“[a]ttempted manually, such tracing is cumbersome and time consuming.” C. Alden

Pelker et al, Using Blockchain Analysis from Investigation to Trial, 69 Dep’t Just. J. Fed.

L. and Prac. 59, 62 (May 2021), available at

https://www.justice.gov/usao/page/file/1403671/download.




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       The most common blockchain analysis techniques use what is called “cluster

analysis” to attempt to de-anonymize Bitcoin transactions. They do so by relying on

certain heuristics and assumptions. In common input or co-spend analysis (“the most-

used metric in commercial blockchain analysis tools”), the blockchain analysis links

addresses with the assumption that “if two or more addresses are inputs of the same

transaction with one output, then one can infer that those input addresses are controlled

by the same user.” Id. Another type of cluster analysis looks to the “address that receives

any remainders of transferred funds from a transaction” with the assumption that the

ultimate output address and all the original inputs “may be controlled by the same user.”

Id. These two heuristics – (1) “if two addresses have been used as input to the same

transaction, they are controlled by the same user” and (2) “the change address in a

transaction is controlled by the sender” – are foundational elements of forensic

blockchain analysis. See Sarah Meiklejohn, The Limits of Anonymity in Bitcoin, in

Routledge Handbook of Criminal Science (Richard Wortley et al, eds., 2018) at 285. (For

a short explanation of Bitcoin heuristics, see “Introduction to Bitcoin Heuristics,”

CryptoQuant, July 30, 2019, https://medium.com/cryptoquant/introduction-to-bitcoin-

heuristics-487c298fb95b.)

       Blockchain analysis is only as reliable as its underlying assumptions. In theory, at

least according to federal prosecutors, “clustering can be done manually” but “doing so

would be cumbersome and limited; instead, law enforcement uses commercially available

blockchain analysis tools to streamline the process.” Pelker et al., supra at 62-3.

        Although it is not entirely clear, it appears that in this case the Government’s

agent and designated expert witness may have used commercially available blockchain



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analysis tools. So, for example, in a June 18, 2019 FBI memo summarizing a May 29,

2019 case coordination meeting, Staff Operations Specialist Alexandra Comolli and

Intelligence Analyst Erin Montgomery “provided a presentation on blockchain analysis.”

Alexandra Comolli & Erin Montgomery, To Document Participation in Case

Coordination Meeting (June 18, 2019) at 2. A number of FBI memorandums in the

discovery also make reference to Bitcoin blockchain analysis. See, e.g., Alexandra

Comolli & Erin Montgomery, 272B-BS-2234931 Serial 243 (Feb. 20, 2020); Alexandra

Comolli & Erin Montgomery, 272B-BS-2234931 Serial 286 (Sept. 15, 2020); Alexandra

Comolli & Erin Montgomery, 272B-BS-2234931 Serial 290 (Sept. 21, 2020); Erin

Montgomery & Alexandra Comolli, 272B-BS-2234931 Serial 303 (March 8, 2021); Erin

Montgomery & Alexandra Comolli, 272B-BS-2234931 Serial 304 (March 8, 2021).


The Daubert Standard.

        “The touchstone for the admission of expert testimony in federal court is Federal

Rule of Evidence 702.” Crowe v. Marchand, 506 F.3d 13, 17 (1st Cir. 2007). Under Rule

702:

        A witness who is qualified as an expert by knowledge, skill, experience, training,
        or education may testify in the form of an opinion or otherwise if:

               (a) the expert’s scientific, technical, or other specialized knowledge will
               help the trier of fact to understand the evidence or to determine a fact in
               issue;

               (b) the testimony is based on sufficient facts or data;

               (c) the testimony is the product of reliable principles and methods; and

               (d) the expert has reliably applied the principles and methods to the facts
               of the case.




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Fed. R. Evid. 702. As explained by this court, “before the factfinder in a case can

consider expert testimony over the adverse party’s objection, the trial judge, serving as

‘gatekeeper,’ must determine whether the testimony satisfies the relevant foundational

requirements.” Adams v. J. Meyers Builders, Inc., 671 F. Supp. 2d 262, 272 (D.N.H.

2009) (quoting Daubert, 509 U.S. at 597). According to the First Circuit, “this rule

requires district courts to act as gatekeepers, ensuring that an expert’s proffered testimony

‘both rests on a reliable foundation and is relevant to the task at hand.’” Samaan v. St.

Joseph Hosp., 670 F.3d 21, 31 (1st Cir. 2012) (quoting Daubert, 509 U.S. at 597).

       The reliable foundation and relevance inquiries “are separate and distinct.”

Samaan, 670 F.3d at 31. “The reliable foundation requirement necessitates an inquiry

into the methodology and the basis for an expert’s opinion” where the district court

considers “a number of factors, including but not limited to ‘the verifiability of the

expert’s theory or technique, the error rate inherent therein, whether the theory or

technique has been published and/or subjected to peer review, and its level of acceptance

within the scientific community,’” wherein “the expert’s methodology is commonly ‘the

central focus of a Daubert inquiry.’” Id. at 31-32 (quoting Ruiz-Troche v. Pepsi Cola of

P.R. Bottling Co., 161 F.3d 77, 81 (1st Cir. 1998)). See also Daubert, 509 U.S. at 593-94

(“a preliminary assessment of whether the reasoning or methodology underlying the

testimony is scientifically valid and of whether that reasoning or methodology properly

can be applied to the facts in issue”). But note:

       These factors, however, are not definitive or exhaustive, and the trial judge enjoys
       broad latitude to use other factors to evaluate reliability. United States v. Mooney,
       315 F.3d 54, 61 (1st Cir. 2002) (citing Kumho Tire Co. v. Carmichael, 526 U.S.
       137, 153, 119 S. Ct. 1167 (1999)). The trial judge may even determine which of
       the Daubert factors to apply depending on the nature of the issue, the expert’s



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        particular expertise, and the subject of her testimony. Kumho Tire, 526 U.S. at
        150.

United States v. Mahone, 328 F. Supp. 2d 77, 88 (D. Me. 2004).

        The party seeking to introduce the expert testimony bears the burden of proving

its admissibility. Milward v. Rust-Oleum Corp., 820 F.3d 469, 473 (1st Cir. 2016). The

Supreme Court said in Daubert, “[t]he inquiry envisioned by Rule 702 is, we emphasize,

a flexible one.” Daubert, 509 U.S. at 594; see also United States v. Martinez-Armestica,

846 F.3d 436, 443 (1st Cir. 2017). But in criminal proceedings, as the First Circuit said in

United States v. Shay, 57 F.3d 126 (1st Cir. 1995), “[e]ven if expert testimony is

admissible pursuant to Rule 702, it may be disallowed pursuant to Fed. R. Evid. 403 if its

prejudicial, misleading, wasteful, confusing, or cumulative nature substantially outweighs

its probative value.” Shay, 57 F.3d at 134.

        Procedurally, the First Circuit has said, “there is no particular procedure that the

trial court is required to follow in executing its gatekeeping function under Daubert.”

United States v. Diaz, 300 F.3d 66, 73 (1st Cir. 2002). See also Smith v. Dorchester Real

Estate, Inc., 732 F.3d 51, 64 (1st Cir. 2013). In Kumho Tire Co. v. Carmichael, the

Supreme Court explained how

        The trial court must have the same kind of latitude in deciding how to test an
        expert’s reliability, and to decide whether or when special briefing or other
        proceedings are needed to investigate reliability, as it enjoys when it
        decides whether that expert’s relevant testimony is reliable.…Otherwise, the trial
        judge would lack the discretionary authority needed both to avoid unnecessary
        “reliability” proceedings in ordinary cases where the reliability of an expert’s
        methods is properly taken for granted, and to require appropriate proceedings in
        the less usual or more complex cases where cause for questioning the expert’s
        reliability arises.

Id. at 152 (italics in original).




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Cases and Articles Addressing the Reliability of Blockchain Analysis.

       The defense challenges the Government’s purported blockchain analysis because

it does not meet the standards required by Daubert. Blockchain analysis has been

addressed by courts in the context of probable cause determinations for warrants, but the

defense has found no published cases in which blockchain analysis was admitted at trial

over a Daubert objection. The defense believes this is because blockchain analysis is

used primarily as an investigative technique which may lead to the discovery of more

conventional evidence. In any event, in the absence of authority from other courts, the

Government cannot establish admissibility at DiMezzo’s trial unless it convinces this

court that blockchain analysis is reliable under the Daubert standard. It cannot carry that

burden.

       The defense has found one published analysis of the Daubert issue, though not

from a court. In 2015, the prominent scholar of evidence, Edward Imwinkelried, the

University of California Davis Professor of Law Emeritus, published a joint research

paper with a student in Criminal Law Bulletin. Jason Luu and Edward Imwinkelried, The

Challenge of Bitcoin Pseudo-Anonymity To Computer Forensics, 52 Crim. L. Bull. 191

(2016). Lacking any “case law precedent providing evidentiary guidance about the

admissibility and weight of these techniques,” the pair undertook a Kelly/Frye and

Daubert analysis. Id. at 16. To the first standard, they concluded, “[b]oth traffic and

transaction graph analyses would most likely fail the general acceptance test” and there is

“currently no evidence of extensive support for either traffic analysis or transaction graph

analysis.” Id. at 17. The authors then reviewed blockchain analysis techniques under a

six-factor Daubert analysis. Id. at 18 (citing Daubert, 509 U.S. at 593–94). The pair



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found “that neither traffic analysis nor transaction graph analyses passes muster under

Daubert” and “[o]n balance, a review of the application of the Daubert factors to these

two techniques leads to the conclusion that in the current state of the art, trial judges

should bar testimony based on these techniques.” Id. at 19.

       Prosecutors at the Department of Justice are conscious of the role of blockchain

analysis in criminal prosecutions. One year ago, three DOJ attorneys published a paper

surveying the use of blockchain analysis in investigations and trials. Pelker et al, supra.

They make no reference to Imwinkelried. Daubert appears only briefly at the end of their

paper when they note that if prosecutors seek to use expert testimony related to

blockchain (specifically clustering) analysis, prosecutors “should be prepared for a

potential Daubert hearing” and “should develop a plan to appropriately address any trade

secret or law enforcement privilege issue in advance of the Daubert hearing.” Id. at 98.

Beyond that, they do not address the Daubert issues.

        Nonetheless, other portions of the article hint at how blockchain forensics would

fail Daubert’s test. The authors note how “blockchain analysis software largely serves an

aggregation function” and “much of the functionality provided by blockchain analysis

software lies in its ability to pull massive amounts of transactional data from the

blockchain and provide user-friendly tools to explore it” and yet, the “software does not

only aggregate blockchain data; it also applies heuristics and other analytical tools to

cluster addresses into related groups.” Id. at 69-70 (emphasis in original). Thus, when

they say “[i]n theory, most analysis of blockchain transactions could be done by hand”

they really mean that portions of the analysis could theoretically be done by hand—if a

human were capable of manually tracking millions of transactions—but also that other



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portions rely on “heuristics” and “other analytical tools” that are unexplained and

undefined. Id.

        The authors reveal another reason why blockchain forensics stay out of the

courtroom. As they explain it:

        [P]rosecutors could seek to have the blockchain analysis company testify to the
        basis for the cluster, though such an approach is generally disfavored and
        discouraged by the companies themselves, both to protect the companies’ trade
        secrets and to avoid a situation where the blockchain analysis companies are
        asked to field witnesses for every major virtual currency trial when a law
        enforcement witness would more than suffice.

Id. at 97.

        Commercial and efficiency concerns dominate. As another group of U.S.

attorneys warned in an article about cryptocurrency attribution, “[a]nticipate that

proprietary algorithms or other trade secrets may also be used in commercial tools,”

“[t]rade secrets may need to be protected from public disclosure,” and “[i]f any

blockchain analysis relies upon a commercial tool, there may be limitations to the

licensing of that tool to the federal government agency.” Michele Korver et al,

Attribution in Cryptocurrency Cases, 67 Dep’t Just. J. Fed. L. and Prac. 233, 248 (Feb.

2019), available at https://www.justice.gov/usao/page/file/1135861/download.

        A case which is not on point here but which is sometimes cited regarding forensic

blockchain analysis is the Fifth Circuit’s decision in United States v. Gratkowski, 964

F.3d 307 (5th Cir. 2020). In that case, the defendant moved to suppress evidence obtained

from a warrant that used blockchain analysis to track Bitcoins from a child pornography

website to a cryptocurrency exchange (Coinbase) that was in turn linked to the defendant.

The district court denied his motion, Gratkowski entered a conditional guilty plea and

appealed to the Fifth Circuit. Id. at 309-10. The court affirmed the district court,


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announcing that Gratkowski lacked a reasonable expectation of privacy in his bitcoin

transactions or his Coinbase records. Id. 310-13. The court did not analyze the issue of

blockchain analysis’s reliability. The court simply said, “due to [the public nature of the

blockchain], it is possible to determine the identities of Bitcoin address owners by

analyzing the blockchain.” Id. at 312. The court then cited to the original paper proposing

Bitcoin by Satoshi Nakamoto. Id. at 312, fn.6. The court did not engage in any other

analysis.

        Gratkowski’s legacy is seen in United States v. Dove, No. 8:19-cr-33-T-36CPT,

2020 U.S. Dist. LEXIS 251313 (M.D. Fla. Sep. 4, 2020). Dove involved a Franks hearing

before a magistrate judge in Florida, where the defendant, charged with multiple child

pornography offenses, alleged the search warrant used in his investigation involved

omitted and false statements. Id. at *3. In rejecting Dove’s allegations, the magistrate

found information in the law enforcement affidavit sufficient to establish probable cause.

Id. at *34-5. In particular, the judge credited the affidavit’s assertions that:

        Although the blockchain contains very little information about the BTC senders
        and recipients, blockchain analysis can be used to identify the individuals and
        entities involved in BTC transactions. Blockchain analysis companies do this by
        creating large databases that group BTC transactions into “clusters” through the
        examination of the data underlying the BTC transactions. As a result, law
        enforcement can utilize third-party blockchain analysis software to locate BTC
        addresses that transact at the same time (i.e., the blockchain logs transactions at
        the same time by two different BTC addresses) and then “cluster” these addresses
        together to represent the same owner. The third-party blockchain analysis
        software has supported many investigations and has been found to be reliable.

Id. at *6-7 (internal citations omitted). The only support the magistrate offered for the

final assertion—that blockchain analysis software has supported many investigations and

has been found to be reliable—was Gratkowski. Id. at 7, n.6. Of course, the Franks and

Daubert standards are different and apply at different parts of the criminal justice


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process, but the magistrate’s unquestioning acceptance of the reliability of blockchain

analysis and a passing reference to Gratkowski ignores the serious concerns with the

technology. The magistrate fails to note, for example, that neither it nor law enforcement

have examined the “black box” of private blockchain analysis software.

       When courts have gone beyond the conclusory statements of law enforcement and

Gratkowski, their analysis fails to perform the kind of reliability analysis Daubert

requires before evidence may be presented to a jury at trial. For example, in Matter of

Search of Multiple Email Accts. Pursuant to 18 U.S.C. § 2703 for Investigation of

Violation of 18 U.S.C. § 1956, No. 20-SC-3310 (ZMF), 2022 WL 406410 (D.D.C. Feb. 8,

2022), a magistrate judge questioned the government’s search warrant application and

whether it complied with the Fourth Amendment. Relevant to this motion, the magistrate

asked whether “the software the government used to establish probable cause was

reliable.” Id. at *1. The court engaged in a far more detailed analysis of both Bitcoin and

blockchain analysis than other courts, citing a more diverse and complete range of

sources, including not only Gratkowski, but also other cases that relied on blockchain

analysis and the groundbreaking academic work of Professor Sarah Meiklejohn and

others. Id. at *1-3, *11-*13; In re the Search of One Address in Washington, D.C. Under

Rule 41, 512 F.Supp.3d 23, 26 (D.D.C. 2021); Sarah Meiklejohn et al, A Fistful of

Bitcoins: Characterizing Payments Among Men with No Names, IMC ‘13: Proceedings of

the 2013 Conference on Internet Measurement Conference, Barcelona, Oct. 23-25, 2013,

at 1, 1 available at https://doi.org/10.1145/2504730.2504747. Throughout the opinion, the

court referenced the Pelker article noted above. The court quoted Pelker to say, “there are




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no published decisions analyzing the weight or reliability of blockchain evidence in a

search warrant application” and then adds “not until now.” Id. at *12.

       To assess blockchain forensics’ reliability, the magistrate in Email Accts.

analogized to confidential informants and put great weight on purported prior successes.

Id. Perhaps because this was a probable cause search warrant evaluation, not a Daubert

hearing, the court did not look to what the academic and scientific community had to say,

but rather what law enforcement alleged. Thus, for example, the court approvingly noted

the government’s affidavit that “[t]hrough numerous unrelated investigations, law

enforcement has found the information provided by these [blockchain forensics]

companies to be reliable” and that “this software has correctly analyzed data on the

blockchain in hundreds of investigations.” Id. at *13. It added, “success in the hundreds,

with a perfect record in one case as corroborated by 50 search warrant returns, makes this

clustering software one of the most reliable bases for a search ever. Going 50 for 50 is

beyond what could be expected of a mere human.” Id. The magistrate concluded, “[t]he

unprecedented rate of prior success, lack of incentive or capacity to lie, and incredible

level of detail (the software draws out each transaction block-by-block that comprises a

cluster), make the clustering software a reliable foundation for probable cause that is

beyond compare. Moreover, software that makes a mistake will be deleted and never

repurchased, ensuring survival of only the fittest software.” Id. (internal citations

omitted). For the magistrate in Email Accts., therefore, unchallenged law enforcement

claims, and some faith in the effectiveness of the free market, were sufficient to prove

reliability. This sort of freeform analysis may suffice for loosely defined probable cause,

but it utterly fails what Daubert requires.



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Blockchain Analysis Does Not Survive a Daubert Challenge.

       The Supreme Court in Daubert offered five factors to determine whether a

scientific methodology should be admitted in a courtroom: (1) “whether it can be (and

has been) tested,” (2) “whether the theory or technique has been subjected to peer review

and publication,” (3) “the known or potential rate of error,” (4) “the existence and

maintenance of standards controlling the technique’s operation,” and (5) “general

acceptance.” Daubert, 509 U.S. at 593-94. As detailed above, in 2015, Luu and

Imwinkelried concluded that blockchain forensics did not pass these benchmarks. But has

anything changed?

       First, while academic researchers and technologists continue to try and test their

techniques, many continue to rely on artificial data sets rather than the public blockchain

itself. See, e.g., Malte Möser and Arvind Narayanan, Resurrecting Address Clustering in

Bitcoin, ArXivabs/2107.05749 (2021), at 1-20, available at

https://arxiv.org/abs/2107.05749. For those researchers that do test on the public

blockchain, they still apply heuristics and other analytical techniques to get a handle on

their large data sets. See, e.g., Yousaf et al, Tracing Transactions Across Cryptocurrency

Ledgers, Proceedings of the 28th USENIX Security Symposium (Aug. 2019) at 3-6,

available at https://www.usenix.org/system/files/sec19-yousaf_0.pdf. There is, however,

a major distinction between where academic researchers test their work and where the

proprietary blockchain analytics companies do it. Just because a technique was tested by

an academic researcher does not mean that a private company follows the same methods

or uses the same data. Beyond law enforcement’s purported claims of the reliability of

the methods, outsiders simply have no means of testing, or even examining, the methods



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of private companies. As two Princeton academics explained in a 2021 article, a “major

issue is the lack of ground truth data available to researchers” and although “[b]lockchain

intelligence companies might possess manually curated and refined data sets…their

techniques and data aren’t openly available to researchers.” Möser and Narayanan, supra

at 2. Thus, for all the recent research related to blockchain analysis, testing lacks

consistent data sources and private companies’ work remains unavailable.

       Second, while there has been an outpouring of scholarship related to Bitcoin and

other cryptocurrencies in the past decade, much of it peer-reviewed, many questions

remain unanswered. See, e.g., Arianna Trozze et al, Cryptocurrencies and future

financial crime, 11 Crime Science, 1-35 (2022); Yousaf et al, supra at 2. One recent

paper aptly summarized the field as “still evolving and poorly understood.” Natkamon

Tovanich et al, Visualization of Blockchain Data: A Systematic Review, 27 IEEE

Transactions on Visualization and Computer Graphics, 3135 (July 2021). And a paper

from 2018, in the Journal of Forensic Research, concluded that even the most common

type of forensic blockchain analysis developed by Sarah Meiklejohn still had “room for

further research.” Douglas A. Orr, Bitcoin Investigations: Evolving Methodologies and

Case Studies, 9 J. Forensic Rsch, at 6 (May 2018), available at

https://www.hilarispublisher.com/open-access/bitcoin-investigations-evolving-

methodologies-and-case-studies-2157-7145-1000420.pdf. Certainly the proliferation of

commercial companies offering blockchain analysis services suggests a faith in the

techniques, but commercial acceptance has never been an independent factor under

Daubert, nor can it be, since proprietary commercial software by definition cannot be

peer reviewed. In short, the academic literature has steadily improved since Luu and



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Inwinkelried looked at it 2015, but there is still no consensus on the reliability of

blockchain analysis.

       Third, rates of error in blockchain analysis remain essentially unknown. Scholars

have noted, for example, that the heuristics underpinning blockchain forensics are

“vulnerable to false positives,” especially if users “adopt privacy-enhancing

countermeasures.” Möser and Narayanan, supra at 3, 15. As the two Princeton

researchers noted in 2021, “analyses of clustering heuristics often fall short of

quantifying their accuracy.” Id, at 2. Thus, recent scholarship has not resolved Luu and

Inwinkelried’s 2015 concerns about the high false positive rate and incompleteness of

published results. Luu and Imwinkelried, supra at 18. These problems are even more

pronounced with the proprietary commercial services who, as far as the defense can

determine, reveal no details about their own rates of error. Since the government and

private firms are unlikely to publicize instances when blockchain analysis proves

unreliable, courts should not presume reliability based on successful investigations, like

the court did in In re the Search of One Address in Washington, D.C. Under Rule 41.

Touting the successes tells us nothing about the failures. More than a decade after

blockchain analysis emerged, we simply do not know its reliability.

       Fourth, operational standards in blockchain analysis have improved, but the same

issues of secrecy surround the standards in the commercial realm. So, for example,

academic researchers can build on the work of their predecessors, like Möser and

Narayanan did with the work of Meiklejohn. Möser and Narayanan, supra at 1-20. But

blockchain analysis companies like Chainalysis or TRM Forensics do not publicly reveal

their standards of operation. Perhaps they disclose more information to paying clients, but



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courts and defense attorneys are expected to take on faith “the existence and maintenance

of standards controlling the technique’s operation.” Daubert, 509 U.S. at 594. In light of

the fluidity and dynamism of blockchain technologies and the back-and-forth between

those seeking greater privacy and those seeking to unmask transactions, it is unclear

whether there can ever be operational standards.

       Fifth and finally, blockchain forensics have been used more commonly since Luu

and Imwinkelried wrote in 2015, but that does not mean that the reliability of blockchain

analysis is generally accepted. The fact that it has been used often in investigations is

hardly grounds, alone, to conclude that its reliability is generally accepted. Similarly, the

proliferation of commercial blockchain analysis companies suggests there is a market, but

the marketability of a service is not the measure of general scientific acceptance. One

need only think of snake oil or alchemy to see that point. The growth of the blockchain

analysis industry is a sign of growing acceptance, but until their proprietary methods are

subject to expert scrutiny, we simply have no way of knowing what sort of general

acceptance they deserve.

Conclusion.

       The Government says it will introduce export and non-expert testimony at the trial

regarding blockchain analysis in this case. The defense asserts that technology is not

reliable and will not withstand analysis under the Daubert factors. After the Government

responds, the court should hold an evidentiary hearing at which the Government is

permitted to attempt to show the reliability of blockchain analysis, and the defense is

permitted to challenge reliability. Thereafter, the court should find that such evidence is

not admissible.



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       A hearing is requested.

       No further memorandum is submitted because all authority necessary to grant this

motion is contained herein. However, because some of the cited articles could not be

linked and may not be immediately available to the court, those are attached as exhibits to

this motion.

       WHEREFORE the defense requests that the court hold a hearing on this motion

and thereafter grant the motion and bar the Government from offering at trial any expert

and non-expert testimony regarding forensic blockchain analysis.

Date: July 29, 2022.                                          Respectfully submitted,

                                                              /s/ Richard Guerriero
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                              CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

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                                                              /s/ Richard Guerriero
                                                              Richard Guerriero, Esq.




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